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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF ILLINOIS

                                              )
IN RE: PRADAXA (DABIGATRAN                    )    3:12-md-02385-DRH
ETEXILATE) PRODUCTS LIABILITY                 )
LITIGATION                                    )    MDL No. 2385
                                              )
This Document Relates To:

    The Member Actions Subject to the NOTICE of Settlement of Stipulation of
    Dismissal with Prejudice of Settled Actions (MDL 2385 Doc. 621) and
    Identified in Exhibit 1 Attached Thereto (MDL 2385 Doc. 621-1)

                        JUDGMENT IN A CIVIL CASE

      DECISION BY COURT.         These matters are before the Court for the
purpose of docket control.

      IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the
Stipulation of Dismissal filed on January 23, 2015, the above captioned case is
DISMISSED with prejudice. Each party shall bear their own costs.

                                          JUSTINE FLANAGAN,
                                          ACTING CLERK OF COURT


                                          BY: /s/Cheryl A. Ritter
                                                      Deputy Clerk
Dated: February 2, 2015

                                     David R.
                                     Herndon
                                     2015.02.02
                                     09:42:57 -06'00'
APPROVED:
        DISTRICT JUDGE
        U. S. DISTRICT COURT
